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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA


UNITED STATES OF AMERICA               )                     CR NO. 3:13-134-JFA
                                       )
v.                                     )                           ORDER ON
                                       )                        § 2255 PETITION
IZELL DELOREAN GRISSETT                )
______________________________________ )

       This matter is before the court upon defendant’s pro se1 motion and amended motion

to vacate, correct, or set aside his sentence pursuant to 28 U.S.C. § 2255 and in light of the

Supreme Court’s decision in Johnson v. United States, 576 U.S. 135 S. Ct. 2551 (2015) and

other recently decided cases. Here, the defendant challenges his convictions under 18 U.S.C.

§ 924(c). He also raises various other errors involving his conviction and sentence. The

matters have been briefed and are ripe for review. For the reasons discussed below, the court

finds that the grounds asserted by the defendant in his § 2255 motion are without merit, and

that the government’s motion to dismiss should be granted.2

I.     INTRODUCTION

       While the defendant’s 2255 motion was before this court, several cases were pending

or became ripe in the Fourth Circuit Court of Appeals and the Supreme Court that had the

potential to impact whether certain crimes qualify as a “crime of violence.” Thus, motions

1
  Because the defendant/petitioner is acting pro se, the documents which he has filed in this case
are held to a less stringent standard than if they were prepared by a lawyer and therefore, they are
construed liberally. See Haines v. Kerner, 404 U.S. 519, 520–21 (1972).
2
  In deciding a § 2255 motion, the court may summarily dismiss the motion “[i]f it plainly appears
from the motion, any attached exhibits, and the record of prior proceedings that the moving party
is not entitled to relief.” Rules Governing Section 2255 Proceedings 4(b); see 28 U.S.C. § 2255(b)
(a hearing is not required on a § 2255 motion if the record of the case conclusively shows that
petitioner is entitled to no relief).

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presenting this and other related issues were stayed awaiting a decision on the various cases

under review.

       By way of background, the Supreme Court in Johnson held unconstitutionally vague

the “residual clause” of 18 U.S.C. § 924(e)(2)(B)(ii) of the Armed Career Criminal Act

(“ACCA”) and reversed the defendant’s sentence that was increased as a result of the ACCA

enhancement. Thereafter, in Welch v. United States, 136 S. Ct. 1257 (2016), the Supreme

Court held that its 2015 decision in Johnson applies retroactively to cases on collateral

review.

       Then, in the case of Beckles v. United States, 137 S. Ct. 886 (2017), the Supreme

Court decided that the advisory sentencing guidelines are not subject to constitutional

challenge under the void-for-vagueness doctrine.

       In Sessions v. Dimaya, 138 S. Ct. 1204 (2018), the Supreme Court held that the

residual clause in 18 U.S.C. § 16 (which defines a “crime of violence” and is incorporated

by reference in the Immigration and Nationality Act’s mandatory removal provisions) is void

for vagueness. The Court concluded that the residual clause of § 16 possessed the same

flaws as the ACCA’s residual clause, which the Court invalidated in Johnson in 2015.

       This court then held in further abeyance the defendant’s § 2255 motion until the

Fourth Circuit issued a decision in United States v. Simms, 914 F.3d 229 (4th Cir. 2019). The

Simms case was decided en banc on January 24, 2019, wherein the court ruled that the

residual clause found in 18 U.S.C. § 924(c)(3)(B) is unconstitutionally vague. The Fourth

Circuit then stayed the issuance of its mandate in the Simms case pending a decision by the

United States Supreme Court in United States v. Davis, 139 S. Ct. 2319 (2019).


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       On June 24, 2019, the Supreme Court ruled in Davis that the substantial risk of force

clause of 18 U.S.C. § 924(c)(3)(B) is unconstitutionally vague, reaching the same conclusion

as the Fourth Circuit in the Simms case. Thus, a conviction under § 924(c)(3)(B) could not

be supported by a conviction for conspiracy to commit a Hobbs Act robbery. However, a

conviction for Hobbs Act robbery under the force clause of § 924(c)(3)(A) categorically

remains a crime of violence.

       In addition, the Fourth Circuit decided the case of United States v. Mathis,

932 F.3d 242 (4th Cir. 2019), holding that Hobbs Act robbery is a violent felony and satisfies

the force elements clause of § 924(c)(3)(A) so that this clause remains constitutional.

       Finally, the Supreme Court recently decided that Florida robbery—requiring use of

force sufficient to overcome a victim’s resistance, even if that force is “slight”—

categorically qualifies as a predicate offense under § 924(e), as overcoming resistance is

inherently “violent.” Stokeling v. United States, 586 U.S. ___, 139 S.Ct. 533, 553 (2019).

II.    APPLICABLE LAW

       Prisoners in federal custody may attack the validity of their sentences pursuant to

28 U.S.C. § 2255. In order to move the court to vacate, set aside, or correct a sentence under

§ 2255, a petitioner must prove that one of the following occurred: (1) a sentence was

imposed in violation of the Constitution or laws of the United States; (2) the court was

without jurisdiction to impose such a sentence; (3) the sentence was in excess of the

maximum authorized by law; or (4) the sentence is otherwise subject to collateral attack.

28 U.S.C. § 2255(a).

       Nonconstitutional claims may be brought pursuant to § 2255, but will not provide a


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basis for collateral attack unless the error involves a “fundamental defect which inherently

results in a complete miscarriage of justice.” United States v. Addonizio, 442 U.S. 178, 185,

99 S. Ct. 2235, 2240 (1979); United States v. Morrow, 914 F.2d 608, 613 (4th Cir. 1990).

A petitioner cannot ordinarily bring a collateral attack on the basis of issues litigated on

direct appeal. United States v. Dyess, 730 F.3d 354, 360 (4th Cir. 2013) (stating petitioner

“cannot ‘circumvent a proper ruling ... on direct appeal by re-raising the same challenge in

a § 2255 motion’”); United States v. Linder, 552 F.3d 391, 396 (4th Cir. 2009);

Boeckenhaupt v. United States, 537 F.2d 1182, 1183 (4th Cir. 1976). An exception occurs

where there has been an intervening change in the law. Davis v. United States, 417 U.S. 333,

342, 94 S.Ct. 2298, 2302 (1974).

       Additionally, where a defendant could have raised a claim on direct appeal but fails

to do so, the claim may only be raised in a federal habeas proceeding if the defendant can

show both cause for and actual prejudice from the default. See Murray v. Carrier, 477 U.S.

478, 485, 106 S.Ct. 2639, (1986), or that he is actually innocent, see Smith v. Murray, 477

U.S. 527, 537, 106 S.Ct. 2661, (1986).

       Title 18 U.S.C. § 924(c) provides that a defendant shall be subject to a consecutive

sentence if he or she “during and in relation to any crime of violence or drug trafficking

crime . . . for which the person may be prosecuted in a court of the United States, uses or

carries a firearm, or who, in furtherance of any such crime, possesses a firearm. . . .

18 U.S.C. § 924(c)(1)(A). If the firearm is brandished, the defendant shall be sentenced to

a consecutive term of imprisonment of not less than 7 years, and if discharged, not less than

10 years. Id at (ii)–(iii).


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       The statute defines a “crime of violence” as: an offense that is a felony and — (A)

has an element the use, attempted use, or threatened use of physical force against the person

or property of another, or (B) that by its nature, involves a substantial risk that physical force

against the person or property of another may be used in the course of committing the

offense. 18 U.S.C. § 924(c)(3).

       A “drug trafficking crime” for purposes of § 924(c) means “any felony punishable

under the Controlled Substances Act (21 U.S.C. § 801 et seq.), the Controlled Substances

Import and Export Act (21 U.S.C. § 951 et seq.), or Chapter 705 of Title 46.”

18 U.S.C. § 924(c)(2).

       The Hobbs Act, 18 U.S.C. § 1951, prohibits obstructing, delaying, or affecting

commerce or the movement of any article or commodity in commerce by robbery. It defines

robbery as “the unlawful taking or obtaining of personal property from a person or in the

presence of another, against his will, by means of actual or threatened force, or violence, or

fear of injury, immediate or future, to his person or property.” Id. Hobbs Act robbery

qualifies as a crime of violence under § 924(c)(3)(A) because it “has as an element the use,

attempted use, or threatened use of physical force against the person or property of another.”

See United States v. Mathis, 932 F.3d 242 (4th Cir. 2019) (holding that a Hobbs Act robbery

constitutes a crime of violence under the force clause of Section 924(c)). Virtually every

appellate court and district court to address this issue has found that Hobbs Act robbery is

a “crime of violence” under the force clause of § 924(c). Likewise, attempted Hobbs Act

robbery constitutes a “crime of violence” under the force clause of § 924(c)(3)(A). See

United States v. Brown, 2019 WL 3451306, *3 (E.D.VA July 30, 2019)(“Like completed


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Hobbs Act robbery, attempted Hobbs Act robbery qualifies as a crime of violence under §

924(c)(3)(A)’s use-of-force clause because that clause expressly includes “attempted use”

of force.”)(quoting United States v. St. Hubert, 909 F.3d 335, 351 (11th Cir. 2018)).

        Although the Supreme Court found that the residual clause of § 924(c)(3)(B) is

unconstitutionally vague, the force (or elements) clause of § 924(c)(3)(A) remains a violent

felony and can serve as a predicate for a § 924(c) conviction. A court must look to the

substantive Hobbs Act robbery conviction as it relates to the §924(c) count.

III.    PROCEDURAL BACKGROUND

        On February 7, 2014, the defendant was found guilty by a jury of the following:

        Count 1:     conspiracy to possess with intent to distribute 5 kilograms or
                     more of cocaine and 280 grams or more of “crack” cocaine, in
                     violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), and 846;

        Count 4:     Hobbs Act robbery, aiding and abetting, in violation of
                     18 U.S.C. § 1951 and 18 U.S.C. § 2;

        Count 5:     discharging a firearm during and in relation to a drug trafficking
                     crime or a crime of violence, in violation of 18 U.S.C.
                     § 924(c)(1);

        Count 6:     felon in possession of a firearm and ammunition in violation of
                     18 U.S.C. §§ 922(g)(1) and 924(a)(2).

        Count 7:     possession with intent to distribute 500 grams or more of cocaine, and
                     a quantity of cocaine base, in violation of 21 U.S.C. §§ 841(a)(1),
                     (b)(1)(B), (b)(1)(C), and 18 U.S.C. § 2.

        The Presentence Report (“PSR”) prepared by the United States Probation Office

determined the defendant’s offense level was 45. The defendant’s criminal history category

was IV, resulting in a Guidelines range of Life. The court found that the murder cross

reference in U.S.S.G. § 2D1.1(d)(1) applied.


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       On July 9, 2014, the court sentenced the defendant to Life imprisonment on Count 1

(drug conspiracy); 240 months on Count 4 (Hobbs Act robbery); 120 months on Count 6

(felon in possession); 480 months on Count 7 (possession with intent to distribute cocaine

and crack), all to run concurrently; and 120 months consecutive on Count 5 (§ 924(c)). The

defendant was not subject to an enhancement under 21 U.S.C. § 851, nor was he sentenced

under the ACCA.

       Thereafter, the defendant filed a notice of appeal and the Fourth Circuit Court of

Appeals affirmed the defendant’s conviction.               See United States v. Grissett,

606 Fed. Appx. 717 (4th Cir. 215). The defendant did not file a petition for writ of certiorari

with the United States Supreme Court.

IV.    DISCUSSION

                              The Defendant’s § 2255 Motion

       On July 21, 2016, the defendant filed his first pro se motion pursuant to

28 U.S.C. § 2255, raising four Grounds for relief. In Grounds 1, 2, and 4, the defendant

argues that he should not have been sentenced in Count 1 to the murder cross reference

because to do so required the judge to find facts that the jury had not found, in violation of

Apprendi v. New Jersey, 530 U.S. 466 (2000). He also challenges his sentences on Counts

4 and 7 under Apprendi. In Ground 3, the defendant argues, as it relates to his conviction

on Count 5— § 924(c)(1)(A)(iii)—that Hobbs Act robbery is no longer a crime of violence

after Johnson.

       The defendant also raises various other claims in his supplemental briefs.

                           The Government’s Motion to Dismiss


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       As to the defendant’s Apprendi claims relating to Counts 1, 4, and 7, the government

asserts that these claims have been litigated on appeal and are procedurally defaulted. In a

§ 2255 proceeding, a petitioner cannot “recast, under the guise of a collateral attack,

questions fully considered” on direct appeal. Boeckenhaupt v. United States, 537 F.2d 1182,

1183 (4th Cir. 1976). The law of the case doctrine forecloses relitigation of issues expressly

or impliedly decided by the appellate court. United States v. Bell, 5 Fed. 3d 64, 66

(4th Cir. 1993). The government submits that the defendant is barred from raising any

further sentencing errors under § 2255 unless he can show cause for his failure to raise such

claims, or show actual prejudice stemming from the alleged constitutional error, or he can

demonstrate actual innocence. United States v. Frady, 456 U.S. 152, 167 (1982). The

procedural default doctrine reflects the “general rule” that “claims not raised on direct appeal

may not be raised on collateral review.” Massaro v. United States, 538 U.S. 500, 504 (2003).

“It is well established that where an appeal was taken from a conviction, the judgment of the

reviewing court is res judicata as to all issues actually raised, and those that could have been

presented but were not are deemed waived.” Teague v. Lane, 489 U.S. 288, 297, (1989)

(internal citation and quotation omitted). See also, Bousley v. United States, 523 U.S. 614,

621, (1998) (habeas review is an “extraordinary remedy” and is not a proper substitute for

an appeal). The defendant is barred from raising the defaulted claims in a federal habeas

corpus proceeding unless he can show cause for the default and prejudice resulting

therefrom. Teague, 489 U.S. at 298. The defendant does not attempt to show cause for his

default, and he cannot show prejudice. “Actual prejudice” requires more than the mere

possibility of prejudice; it requires a showing that the alleged error “worked to [defendant’s]


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actual and substantial disadvantage.” Frady, 456 U.S. at 170.

       In its supplemental response in support of its motion to dismiss (ECF No. 203), the

government asserts that in addition to Johnson, the recent decisions in Simms and Davis do

not invalidate the defendant’s conviction for Hobbs Act robbery, and thus his § 2255 motion

is without merit.

       The government notes that Count 5 of the Indictment charged the defendant and a co-

defendant with discharging a firearm during and in relation to a drug trafficking crime or a

crime of violence on June 23, 2010, in violation of 18 U.S.C. § 924(c). This incident

occurred as a result of the defendant robbing his drug supplier on June 23, 2010, and killing

a person as a result of the robbery. The defendant’s § 924(c) charge in Count 5 was based

upon his charge in Count 4 for a Hobbs Act robbery and was under the force clause of

§ 924(c)(3)(A), not part (B). Thus, neither Davis or Simms is applicable.



       The government also points out that because the § 924(c) conviction was based upon

both a Hobbs Act robbery (Count 4) and a drug trafficking crime (Count 7), either of which

would support the § 924(c) conviction.

       The government filed its last supplemental brief (ECF No. 206) on September 23,

2019, replying to the defendant’s two supplemental briefs (ECF Nos. 204, 205). The

government notes that in those two briefs, the defendant reasserts arguments previously made

and addressed by the government. The government suggests that other arguments are now

procedurally barred as the defendant failed to raise these arguments at sentencing or on

appeal.


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       The government contends that the defendant’s reliance on Johnson, Davis, or Simms

is misplaced. The government also notes that “aiding and abetting” a crime has a broader

application than a conspiracy as a defendant is deemed to be a principal actor because he

consciously shares in any criminal act whether or not there is a conspiracy. Nye & Nissen,

A Corporation, et al. v. United States, 336 U.S. 613, 620, 69 S. Ct. 766 (1949). A defendant

is guilty of aiding and abetting a crime if he has knowingly associated himself with and

participated in the criminal venture. United States v. Burgos, 94 F.3d 849, 873 (4th Cir.

1996) (en banc). “An active participant in a ... transaction has the intent needed to aid and

abet a § 924(c) violation when he knows [in advance] that one of his confederates will carry

a gun.” Rosemond v. United States, 572 U.S. 65, 134 S. Ct. 1240, 1249 (2014). At least two

Circuits have held that aiding and abetting Hobbs Act robbery is a crime of violence. United

States v. Richardson, 966 F.3d 417 (6th Cir. 2018), United States v. Colon, 826 F.3d 1301

(11th Cir. 2016). See also Hendrickson v. Kizziah, No. 18-316, 2019 U.S. Dist. WL 2271123

(E.D. Ky May 28, 2019).

V.     CONCLUSION

       The defendant’s drug trafficking crime charged in Count 7 serves as a valid basis for

the § 924(c) violation charged in Count 5. The defendant’s Hobbs Act robbery charged in

Count 4 serves as a valid basis for the § 924(c) violation of Count 5. The decisions in Simms,

Davis, and Johnson do not alter the conclusion that Count 5 is predicated on a valid drug

trafficking crime or crime of violence under the force clause of § 924(c)(3)(A).

       The claims made by the defendant regarding Apprendi are procedurally barred and

without merit.


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       Accordingly, the government’s motion to dismiss is granted (ECF No. 179) and the

defendant’s § 2255 motions and amendments (ECF Nos. 173, 204) are dismissed with

prejudice.

       It is further ordered that a certificate of appealability is denied because the petitioner

has failed to make “a substantial showing of the denial of a constitutional right.”

28 U.S.C. § 2253(c)(2).3


       IT IS SO ORDERED.


October 11, 2019                                      Joseph F. Anderson, Jr.
Columbia, South Carolina                              United States District Judge




3
   A certificate of appealability will not issue absent “a substantial showing of the denial of a
constitutional right.” 28 U.S.C. § 2253(c)(2) (West 2018). A prisoner satisfies this standard by
demonstrating that reasonable jurists would find both that his constitutional claims are debatable and
that any dispositive procedural rulings by the district court are also debatable or wrong.
See Miller-El v. Cockrell, 537 U.S. 322, 336 (2003); Slack v. McDaniel, 529 U.S. 473, 484 (2000);
Rose v. Lee, 252 F.3d 676, 683 (4th Cir. 2001). In the instant matter, the court finds that the
defendant has failed to make “a substantial showing of the denial of a constitutional right.”


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